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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
                                            §
VS.                                         §   CRIMINAL NO. H-14-532-2
                                            §
                                            §
                                            §
KELVIN GEROID ROGERS                        §


                                       ORDER

       The defendant filed an unopposed motion for continuance of the sentencing hearing,

(Docket Entry No. 69). The motion for continuance is GRANTED. The sentencing hearing

is reset to September 2, 2015 at 9:30 a.m. Objections to the presentence report are due by

August 17, 2015.

             SIGNED on July 7, 2015, at Houston, Texas.

                                          ______________________________________
                                                     Lee H. Rosenthal
                                                United States District Judge
